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07                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
08                                       AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )              Case No. CR07-310-RSL
11         v.                             )
                                          )
12   CHARLES ALEXANDER TRAYLOR,           )              DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14
     Offenses charged:
15
            Count 1: Conspiracy to Distribute Crack Cocaine in violation of 21 U.S.C. §§ 841(a)(1),
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     841(b)(1)(B) and 846.
17
            Date of Detention Hearing:       September 25, 2007
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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     the following:
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            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)       Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant
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     is a flight risk and a danger to the community based on the nature of the pending charges.
24
            (2)       Defendant has stipulated to detention, but reserves the right to contest his
25
     continued detention if there is a change in circumstances.
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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01          (3)    There are no conditions or combination of conditions other than detention that will
02 reasonably assure the appearance of defendant as required or ensure the safety of the community.

03          IT IS THEREFORE ORDERED:
04          (1)    Defendant shall be detained pending trial and committed to the custody of the
05                 Attorney General for confinement in a correctional facility separate, to the extent
06                 practicable, from persons awaiting or serving sentences or being held in custody
07                 pending appeal;
08          (2)    Defendant shall be afforded reasonable opportunity for private consultation with
09                 counsel;
10          (3)    On order of a court of the United States or on request of an attorney for the
11                 government, the person in charge of the corrections facility in which defendant is
12                 confined shall deliver the defendant to a United States Marshal for the purpose of
13                 an appearance in connection with a court proceeding; and
14          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
15                 counsel for the defendant, to the United States Marshal, and to the United States
16                 Pretrial Services Officer.
17                 DATED this 25th day of September, 2007.
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19
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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